            Case 23-874, Document 14, 06/26/2023, 3535307, Page1 of 3




                                                           D. G. SWEIGERT, C/O
                                                         MAILBOX, PMB 13339
                                          514 Americas Way, Box Elder, SD 57719
                                                   Spoliation-notice@mailbox.org
June 26, 2023
                       Goodman v. Bouzy, et. al. Case No. 1: 21-cv-10878-AT-JLC
Catherine O’Hagan Wolfe
Clerk of Court
U.S. Court of Appeals
40 Foley Square
New York, N.Y. 10007
Via e-mail message


SUBJ:              DOCKET NO. 23-874


Dear Madam,


1.    Background. As stated in Case 23-874, Document 4, 06/13/2023, 3528414,
Page1 of 1:

      IT IS HEREBY ORDERED that Appellant David George Sweigert file a
      response, by letter, to this order either (1) setting out the claimed basis for
      this Court’s jurisdiction; or (2) withdrawing the appeal. The response is due
      June 27, 2023. If no response is filed, the appeal will be referred to a panel
      for a determination regarding this Court’s jurisdiction, copy to pro se
      appellant and Appellee, FILED.[3528414] [23-874] [Entered: 06/13/2023
      11:21 AM

2.     Jurisdictional Statement. Mr. Sweigert appeals the district court’s
Magistrate Order, ECF 202, which had the practical effects of quashing Mr.
Sweigert’s ECF 201 letter to the court clarifying issues related to personal
jurisdiction.



                                         1
              Case 23-874, Document 14, 06/26/2023, 3535307, Page2 of 3




3.     Under the totality of circumstances test, as was the case with ECF 158 and
161, Magistrate Cott treats Appellant’s preliminary letters requesting leave of the
court to file a motion as fully briefed “motions”, see Para. 8, of his Report and
Recommendations (ECF 203). By his Order (ECF 202), Magistrate Cott denied
Mr. Sweigert due process and a meaningful opportunity to be heard regarding ECF
204.

4.     The open ended prefiling injunction order (ECF 202) has denied Mr.
Sweigert (1) a meaningful opportunity to be heard on the issue of personal
jurisdiction, and (2) is a legal nullity for the violation of Mr. Sweigert’s due
process rights. Thus, the Second Circuit has the responsibility of performing a de
novo review of the Order (ECF 202).

5.       Jurisdiction is conferred upon this Court by:

        AMENDMENT V, U.S. CONSTITUTION
        28 U.S.C. § 1292
        Federal Rules of Civil Procedure Rule 60(b)(4)
        U.S. v. All Assets of Statewide Auto Parts, 971 F.2d 896 (2d Cir. 1992)
        SEC v. Romeril, 15 F.4th 166 (2d Cir. 2021)


Respectfully,        Signed this June 26, 2023 (06/26/2023).


                                         D.G. SWEIGERT, PRO SE APPELLANT




                                            2
            Case 23-874, Document 14, 06/26/2023, 3535307, Page3 of 3




                          CERTIFICATE OF SERVICE




Hereby certified that a PDF copy of this letter has been sent via electronic mail to:

Jason Goodman, sole stockholder of MULTIMEDIA SYSTEM DESIGN, INC.


truth@crowdsourcethetruth.org
Georg.webb@gmail.com
berlins@ballardspahr.com
mishkinm@ballardspahr.com
liz.lockwood@alilockwood.com
margaret.esquenet@finnegan.com and MaryKate.Brennan@finnegan.com
bmiddlebrook@grsm.com and jtmills@grsm.com

Certified under penalties of perjury.
Respectfully,      Signed this June 26, 2023 (06/26/2023).




                                              PRO SE DEFENDANT/APPELLANT




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